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UNITED STATES DISTRlCT COURT FILE D
SOUTHERN DISTRICT OF INDIANA
INDIANAPOLIS DIVISION DEC 1 5 2017

U.S. MAG|STRATE JUDGE

UNITED STATES OF AMERICA» ) lNDIANAPOL|S, lNDlANA
Plaintiff, §
V. § CAUSE NO. 1:17-mj-01114
CHRISTOPHER JOHNSON, §
Defendant. §
APPEARANCE »

Cornes now, Josh J. Minkler, United States Attorney for the Southern District of Indiana,
z by Jeffrey D. Preston, Assistant United States Attorney for the Southem District of Indiana, and

enters his appearance as counsel for the United States of America.

Respectfully Submitted,

JOSH J. MINKLER
United States Attorney

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By: \‘

Jeffre/ ll PrE§c'on
Assistant United States Attorney

 

